    Case 4:22-cv-00302-RH-MAF Document 76 Filed 10/12/22 Page 1 of 2




UNITED STATES
UNITED        DISTRICT COURT
       STATES DISTRICT COURT
NORTHERN DISTRICT
NORTHERN  DISTRICT OF
                   OF FLORIDA
                      FLORIDA
----------------------------------------------------------------------- x
                                                                        x
ANDREW H.
ANDREW H. WARREN,
          WARREN,                                                        :
                                                                         :
                               Plaintiff,
                               Plaintiff,                                :
                                                                         :       CASE NO.
                                                                                 CASE NO. 4:22cv302-RH-
                                                                                          4:22cv302-RH-
        v.
        v.                                                               :                         MAF
                                                                                                   MAF
                                                                         :
RON DESANTIS,
RON    DESANTIS,                                                         :
                                                                         :
                               Defendant.
                               Defendant.                                :
                                                                         :
                                                                         :
                                                                         :
                                                                         :
                                                                         :
                                                                         :
                                                                             :
                                                                       x
                                                                       x

         PLAINTIFFS’
         PLAINTIFFS' MOTION FOR ADMISSION
                     MOTION FOR ADMISSION OF
                                          OF DAVID
                                             DAVID A.
                                                   A. O'NEIL
                                                      O’NEIL
                             PRO HAC VICE
                             PRO HAC VICE

         In accordance with
         In accordance with Local Rule 11.1
                            Local Rule 11.1 governing
                                            governing the
                                                      the admission
                                                          admission and
                                                                    and practice
                                                                        practice of
                                                                                 of

attorneys in
attorneys in the
             the United
                 United States District Court
                        States District Court for
                                              for the
                                                  the Northern
                                                      Northern District
                                                               District of
                                                                        of Florida,
                                                                           Florida, I,
                                                                                    I, David
                                                                                       David

A. O'Neil
A. O’Neil of
          of the
             the law
                 law firm of Debevoise
                     firm of Debevoise &
                                       & Plimpton
                                         Plimpton LLP,
                                                  LLP, 801 Pennsylvania Ave
                                                       801 Pennsylvania Ave NW,
                                                                            NW,

Suite
Suite 500,
      500, Washington, D.C., 20004,
           Washington, D.C., 20004, respectfully
                                    respectfully move
                                                 move for admission pro
                                                      for admission pro hac
                                                                        hac vice.
                                                                            vice.

         II am
            am not
               not admitted
                   admitted to
                            to practice
                               practice in the Northern
                                        in the Northern District
                                                        District of
                                                                 of Florida.
                                                                    Florida. II am
                                                                                am aa member
                                                                                      member

in good
in good standing
        standing of
                 of the
                    the D.C.
                        D.C. Bar
                             Bar and
                                 and am
                                     am admitted
                                        admitted to
                                                 to practice
                                                    practice in New York,
                                                             in New York, the
                                                                          the District
                                                                              District

of Columbia,
of Columbia, the
             the Central
                 Central District
                         District of
                                  of Illinois, the Court
                                     Illinois, the Court of
                                                         of Appeals
                                                            Appeals for
                                                                    for the
                                                                        the Third Circuit,
                                                                            Third Circuit,

and the
and the Supreme Court of
        Supreme Court of the
                         the United
                             United States.
                                    States. II hereby
                                               hereby certify
                                                      certify that
                                                              that II have
                                                                      have reviewed the
                                                                           reviewed the

Local Rules of
Local Rules of this
               this Court
                    Court and
                          and am
                              am familiar
                                 familiar with
                                          with the
                                               the CM/ECF
                                                   CM/ECF e-filing
                                                          e-filing system.
                                                                   system.
   Case 4:22-cv-00302-RH-MAF Document 76 Filed 10/12/22 Page 2 of 2




       My Certificate
       My Certificate of
                      of Good
                         Good Standing and the
                              Standing and the required fee are
                                               required fee are being
                                                                being submitted
                                                                      submitted
simultaneously herewith
simultaneously herewith to
                        to the
                           the Clerk
                               Clerk of
                                     of Court.
                                        Court. My
                                               My Attorney
                                                  Attorney Admission
                                                           Admission Tutorial
                                                                     Tutorial
confirmation number
confirmation number is FLND16364029665249.
                    is FLND16364029665249.

       WHEREFORE, movant
       WHEREFORE, movant submits
                         submits that
                                 that the
                                      the motion
                                          motion for
                                                 for admission
                                                     admission pro
                                                               pro hac
                                                                   hac vice
                                                                       vice

permitting David
permitting David A.
                 A. O'Neil
                    O’Neil to
                           to appear
                              appear before
                                     before this
                                            this Court
                                                 Court on
                                                       on behalf
                                                          behalf of
                                                                 of the
                                                                    the Plaintiff
                                                                        Plaintiff should
                                                                                  should

be granted,
be granted, and
            and that
                that an
                     an appropriate
                        appropriate order
                                    order should
                                          should follow.
                                                 follow.

Dated: October
Dated: October 12,
               12, 2022
                   2022
Washington, D.C.
Washington, D.C.

                                                            s/ David
                                                            s/ David O'Neil
                                                                     O’Neil

                                                            David O'Neil,
                                                            David O’Neil, Esq.
                                                                          Esq.

DEBEVOISE &
DEBEVOISE    & PLIMPTON
               PLIMPTON LLP
                          LLP
801 Pennsylvania Ave
801 Pennsylvania Ave NW,
                     NW, Suite
                         Suite 500
                               500
Washington, D.C.
Washington, D.C. 20004
                 20004
(202) 383-8000
(202) 383-8000
daoneil@debevoise.com
daoneil@debevoise.com


                          Counsel for Plaintiff
                          Counselfor  Plaintiff Andrew
                                                Andrew H.
                                                       H. Warren
                                                          Warren




                                            22
